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                                         EXHIBIT 7
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Bart Larsen

From:                  Samuel Gilling <sgilling@southpacgroup.com>
Sent:                  Monday, February 11, 2019 1:50 PM
To:                    'Dr. Oliver Hemmers'
Subject:               RE: PN #56
Attachments:           FTM Promissory Note Statmnts & Calculations CURRENT.xlsx


Hi Oliver,

That is disappointing to hear. I apologise on behalf of Southpac for this.

I attach our records as they stand currently (I note that all notes that are not current or in the process of be renewed are
hidden and can be viewed by selecting the unhide command). Please inform me how you would have us proceed in this
matter that has been raised by Bill.

I will be happy to provide any other information you require upon request. Would you like a copy of all the FTM note
agreements that we have on file for your records?

Best regards,
Sam Gilling


‐‐‐‐‐Original Message‐‐‐‐‐
From: Dr. Oliver Hemmers [mailto:oliver@infinitycapital.com]
Sent: Tuesday, 12 February 2019 10:36 a.m.
To: Samuel Gilling <sgilling@southpacgroup.com>
Subject: RE: PN #56

Hi Sam,

We have not received any notes from Nora in several years now.

Kind Regards, Oliver

‐‐‐‐‐Original Message‐‐‐‐‐
From: Samuel Gilling <sgilling@southpacgroup.com>
Sent: Monday, February 11, 2019 12:40 PM
To: 'Dr. Oliver Hemmers' <oliver@infinitycapital.com>
Subject: FW: PN #56

Dear Oliver,

I was very pleased to hear form Bill. I am hoping that the Promissory Notes will all be in good order soon.

Can you please confirm Bill's assessment below conforms to the expectations of Infinity? From Nora's record, if I add
interest until the 31 December 2018 I arrive at $192,738.57 which is slightly less than Bill's number.




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Further, it would be useful if you would provide your record of the current FTM promissory notes, as Principal of the
Company, so that I may contrast them against Bill's and ours. Would this be possible? I note some of Bills numbers are
irreconcilable with our own currently.

Best regards,
Sam Gilling


Samuel Gilling| Legal Advisor
Email.sgilling@southpacgroup.com | Skype.sgilling@southpacgroup.com Cook Islands Nevis New Zealand Southpac
Trust Limited P O Box 11, ANZ House Avarua, Rarotonga Cook Islands Southpac Trust Nevis Limited P O Box 681, Hunkins
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intended recipient, please do not read, copy, use or disclose the contents of this communication to others. Please notify
the sender that you have received this e‐mail in error and then please delete this e‐mail.


‐‐‐‐‐Original Message‐‐‐‐‐
From: Compliance [mailto:compliance@alternativeis.co]
Sent: Monday, 11 February 2019 5:10 p.m.
To: Samuel Gilling <sgilling@southpacgroup.com>
Cc: Dr. Oliver Hemmers <oliver@infinitycapital.com>; endre <endre@alternativeis.co>
Subject: PN #56

Hello Samuel

Well, I am back in Vanuatu! By next week, I hope to have the time to assist you with the finishing‐off of the promissory
notes saga ‐ long overdue.

In the meantime, I need the following to happen with respect to redeemed Promissory Note #56 which has never been
paid out in full to FTM Ltd. Therefore, I want the following to happen:

1. There is a balance still owing to FTM Ltd, as at the 31 December 2018, of US$193,893.31 2. Issue a new Promissory
Note for the amount of US$165,100.00 3. That will leave a P/N #56 balance still to be paid to FTM Ltd, as at the 31
January 2019, of US$29,045.17 4. The interest on the new promissory note for the amount of US$165,100 is to have an
interest start date of 1 January 2019

Please refer to my attached worksheet for Promissory Note #56.

Any questions just email me.

Regards
Bill Dalzell

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                                                                          COASTAL INVESTMENTS PLC
c/o Southpac Trust Limited
 ANZ House/ PO Box 11
 Avarua, Rarotonga                                                                                                                                                                  Ph: (682) 20514
Cook Islands                                                                                                                                                                       Fax: (682) 20667

Note                                                                      Term                                       Interest     Amount            As At                Balance                      End date     Notify?
Promissory Note to FTM Ltd ‐ (No 56) **Rollover note #32                  2 years from 30/05/2016 to 30/05/2018             14%   USD347,244.51             30/09/2022   $            192,738.57      30/05/2018     #VALUE!
Promissory Note to FTM Ltd ‐ (No.61) **Rollover PN's: 18 & 34**           2 years from 19/09/2016 to 19/09/2018             14%   USD526,386.69             30/09/2022   $            685,247.47      19/09/2018     #VALUE!
Promissory Note to FTM Ltd ‐ (No. 62) Rollover over from p/n #35          2 years from 30/09/2016 to 30/09/2018             14%   USD1,317,047.94           30/09/2022   $          1,734,965.19      30/09/2018     #VALUE!
Promissory Note to FTM Ltd ‐ (No.63)**Rollover PN's: 19 & 36**            2 years from 10/10/2016 to 10/10/2018             14%   USD295,191.35             30/09/2022   $            401,085.32      10/10/2018      TRUE
Promissory Note to FTM Ltd ‐ (No.64) **Rollover from PN's: #20 & #37)     2 years from 29/10/2016 to 29/10/2018             14%   USD228,959.69             30/09/2022   $            308,897.18      29/10/2018     #VALUE!
Promissory Note to FTM Ltd ‐ (No.60)                                      2 years from 27/11/2016 to 27/11/2018             14%   USD40,100.00              30/09/2022   $             52,838.83      27/11/2018     #VALUE!
Promissory Note to FTM Ltd ‐ (No.67) **Rollover over of PN #23 & #40**    2 years from 30/11/2016 to 30/11/2018             14%   USD173,360.85             30/09/2022   $            231,084.98      30/11/2018     #VALUE!
Promissory Note to FTM Ltd ‐ (No.65) **Rollover from PN: #21 & #38**      2 years from 09/12/2016 to 09/12/2018             14%   USD160,332.01             30/09/2022   $            212,989.09      09/12/2018      TRUE
Promissory Note to FTM Ltd ‐ (No.66) **Rollover of PN #22 & #39**         2 years from 31/12/2016 to 31/12/2018             14%   USD457,383.63             30/09/2022   $            602,071.85      31/12/2018     #VALUE!
Promissory Note to FTM Ltd ‐ (No.71) **Rollover from PN #41**             2 years from 04/03/2017 to 04/03/2019             14%   USD114,594.98             30/09/2022   $            147,430.87      04/03/2019      TRUE
Promissory Note to FTM Ltd ‐ (No.72) rollover from promissory note #42    2 years from 16/05/2017 to 16/05/2019             14%   USD131,798.34             30/09/2022   $            164,964.00      16/05/2019     #VALUE!
Promissory Note to FTM Ltd ‐ (No.73)                                      2 years from 16/05/2017 to 16/05/2019             14%   USD50,000.00              30/09/2022   $             50,000.00      16/05/2019     #VALUE!
Promissory Note to FTM Ltd ‐ (No.74)                                      2 years from 16/05/2017 to 16/05/2019             14%   USD100,000.00             30/09/2022   $            125,116.76      16/05/2019     #VALUE!
Promissory Note to FTM Ltd ‐ (No.75)                                      2 years from 21/08/2017 to 21/08/2019             14%   USD77,000.00              30/09/2022   $             92,880.73      21/08/2019     #VALUE!
Promissory Note to FTM Ltd ‐ (No.76)                                      2 years from 21/08/2017 to 21/08/2019             14%   USD200,000.00             30/09/2022   $            241,157.53      21/08/2019     #VALUE!
Promissory Note to FTM Ltd ‐ (No.78) (rollover from promissory note 46)   2 years from 25/09/2017 to 25/09/2019             14%   USD156,875.93             30/09/2022   $            186,800.05      25/09/2019     #VALUE!
Promissory Note to FTM Ltd ‐ (No.79) (rollover from promissory note 47)   2 years from 15/01/2018 to 15/01/2020             14%   USD210,825.60             30/09/2022   $            240,581.72      15/01/2020     #VALUE!
Promissory Note to FTM Ltd ‐ (No.80) (rollover from promissory note 49)   2 years from 22/01/2018 to 22/01/2020             14%   USD65,850.48              30/09/2022   $             74,976.57      22/01/2020     #VALUE!
Promissory Note to FTM Ltd ‐ (No.86) **Rolled over from PN 50             2 years from 17/02/2018 to 17/02/2020             14%   USD263,616.33             30/09/2022   $            297,010.02      17/02/2020     #VALUE!
Promissory Note to FTM Ltd ‐ (No.81) (rollover from promissory note 51)   2 years from 23/02/2018 to 23/02/2020             14%   USD131,751.29             30/09/2022   $            148,160.66      23/02/2020     #VALUE!
Promissory Note to FTM Ltd ‐ (No.87) **Rollover from P.N #52**            2 years from 04/03/2018 to 04/03/2020             14%   USD90,399.98              30/09/2022   $            101,274.51      04/03/2020      TRUE
Promissory Note to FTM Ltd ‐ (No.88) ** Rolled over from note 53          2 years from 10/03/2018 to 10/03/2020             14%   USD178,634.51             30/09/2022   $            191,430.73      10/03/2020      TRUE
Promissory Note to FTM Ltd ‐ (No. 89) **Rollover PN: #54**                2 years from 22/03/2018 to 22/03/2020             14%   USD237,346.15             30/09/2022   $            254,321.61      22/03/2020     #VALUE!
Promissory Note to FTM Ltd ‐ (No.85)                                      2 years from 13/04/2018 to 13/04/2020             14%   USD69,000.00              30/09/2022   $             76,196.57      13/04/2020     #VALUE!
Promissory Note to FTM Ltd ‐ (No. 90) **Rollover from PN: 55              2 years from 26/04/2018 to 25/04/2020             14%   USD183,090.49             30/09/2022   $            201,133.79      25/04/2020     #VALUE!
Promissory Note to FTM Ltd ‐ (No.93)                                      2 years from 30/05/2018 to 30/05/2020             14%   USD100,000.00             30/09/2022   $            108,452.76      30/05/2020     #VALUE!
Promissory Note to FTM Ltd ‐ (No.83)                                      2 years from 12/07/2018 to 12/07/2020             14%   USD240,000.00             30/09/2022   $            240,000.00      12/07/2020      TRUE
Promissory Note to FTM Ltd ‐ (No.91) ** Rolled over from 57               2 years from 15/07/2018 to 15/07/2020             14%   USD55,269.76              30/09/2022   $             58,910.05      15/07/2020     #VALUE!
Promissory Note to FTM Ltd ‐ (No.84)                                      2 years from 26/07/2018 to 26/07/2020             14%   USD50,700.00              30/09/2022   $             50,700.00      26/07/2020     #VALUE!
Promissory Note to FTM Ltd ‐ (No.92) **Rolled over from P/N 58            2 years from 16/08/2018 to 16/08/2020             14%   USD329,425.25             30/09/2022   $            346,936.51      16/08/2020     #VALUE!
Promissory Note to FTM Ltd ‐ (No.94)                                      2 years from 20/08/2018 to 20/08/2020             14%   USD942,205.00             30/09/2022   $            942,205.00      20/08/2020     #VALUE!
Promissory Note to FTM Ltd ‐ (No.95)                                      2 years from 20/08/2018 to 20/08/2020             14%   USD101,975.00             30/09/2022   $            101,975.00      20/08/2020     #VALUE!
Promissory Note to FTM Ltd ‐ (No.69) from promissory note #33             2 years from 1/04/2017 to 1/04/2019               14%   USD118,709.64             30/09/2022   $            151,101.75      1/04/2019       TRUE
Promissory Note to FTM Ltd ‐ (No.82)                                      2 years from 3/04/2018 to 3/04/2020               14%   USD50,000.00              30/09/2022   $             50,000.00      3/04/2020       TRUE
Promissory Note to FTM Ltd ‐ (No.70) Holder ‐ FTM                         2 years from 3/05/2017 to 3/05/2019               14%   USD250,000.00             30/09/2022   $            250,000.00      3/05/2019       TRUE
Promissory Note to FTM Ltd ‐ (No.77) (rollover from promissory note 45)   2 years from 3/09/2017 to 3/09/2019               14%   USD123,838.52             30/09/2022   $            148,702.22      3/09/2019       TRUE

                                                                                                                                                                                   11,997,239.63
